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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


XUEJUN ZOE MAKHSOUS,                                      )
                                                          )   1:19-cv-01230
                                   Plaintiff,             )   Judge Andrea R. Wood
            v.                                            )   Magistrate Judge M. David Weisman
                                                          )
NICHOLAS A. MASTROIANNI II
                                                          )
YING DING
                                                          )
RICHARD HADDAD
                                                          )   MOTION TO DISMISS
            and                                           )   SECOND AMENDED COMPLAINT
                                                          )
US IMMIGRATION FUND, LLC, 1568                            )
BROADWAY FUNDING 100, LLC, QIAOWAI                        )
INTERNATIONAL HOLDING, LLC,                               )
                                                          )
                                   Defendants.            )


            Moving Defendants,1 by and through their undersigned counsel, pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure, respectfully move this Court to dismiss

the Second Amended Complaint (“Second Amended Complaint”) (Dkt. 88). In support thereof,

Defendants submit the accompanying Memorandum of Law in Support of Motion to Dismiss

Second Amended Complaint (“Memorandum of Law”), and the Declaration of Richard G.

Haddad dated June 22, 2020 and exhibits annexed thereto.

            WHEREFORE, for the reasons more fully set forth in the Memorandum of Law, Moving

Defendants respectfully request that this Court enter an order:

                  a. Dismissing the claims against the Moving Defendants with prejudice; and


1
  The moving Defendants filing this motion are Nicholas A. Mastroianni II, U.S. Immigration Fund,
LLC, 1568 Broadway Funding 100, LLC and Richard Haddad. The entity 701 TXQ Funding 1000, LLC
(“701 Fund”) is referred to inconsistently (and in the same sentence of ¶ 9 of the Second Amended
Complaint) as both a “Defendant” and a “non-party.” 701 Fund is not listed in the caption of the Second
Amended Complaint. If 701 Fund is a Defendant, this motion is filed on its behalf as well.
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            b. Awarding such other, further and different relief as the Court deems just,

               equitable and proper.

Dated: June 22, 2020

LAWRENCE KAMIN LLC                               OTTERBOURG P.C.

By: /s/ Peter E. Cooper                          By: /s/ Richard G. Haddad
Peter E. Cooper                                      Richard G. Haddad (pro hac vice pending)
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 Attorneys for Defendants Nicholas A. Mastroianni II, Richard Haddad, U.S. Immigration Fund,
           LLC, 1568 Broadway Funding 100, LLC and 701 TXQ Funding 1000, LLC




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